       Case 3:22-cv-00049-NKM-JCH Document 257-1 Filed 07/18/23 Page 1 of 40 Pageid#:
                                                                                 EXHIBIT
                                          2989
AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action                                                             1
                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                         Western District
                                                       __________ DistrictofofVirginia
                                                                               __________

                        BABY DOE, et al.                                       )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      3:22cv00049-NKM-JCH
                                                                               )
                     JOSHUA MAST, et al.                                       )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                           PIPE HITTER FOUNDATION, INC. 9502 Hale Place, Silver Springs, MD 20910
                                    c/o The Arland Affiliation R/A 72 Sara Circle, Santa Rosa, FL 32459
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV SEE Attached Schedule B

 Place: HUNTON ANDREWS KURTH LLP                                                       Date and Time:
           2200 Pennsylvania Ave, NW Suite 900                                                           07/03/2023 9:00 am
           Washington, DC 20037-1701

          The deposition will be recorded by this method:

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: Please provide requested documents no later than 06/28/2023
                       SEE Attached Schedule A




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/14/2023
                                   CLERK OF COURT
                                                                                         OR
                                                                                                             /s/ Maya M. Eckstein
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiffs
                                                                        , who issues or requests this subpoena, are:
Maya Eckstein 951 E. Byrd St. Richmond, VA 23219 (804) 788-8200 meckstein@huntonAK.com

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 3:22cv00049-NKM-JCH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

         I received this subpoena for (name of individual and title, if any)         PIPE HITTER FOUNDATION, INC.
on (date) 06/14/2023           .

          u I served the subpoena by delivering a copy to the named individual as follows:
          Sean Doe (Refused to provide last name), Authorized representative
                                                                                     on (date) 6/17/2023          ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                     for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date: 6/20/2023
                                                                                           Server’s signature

                                                              Nikolas Alvarez
                                                                                         Printed name and title

                                                              PO Box 25066
                                                              Newark, NJ 07102
                                                              (800) 637-1805
                                                                                           Server’s address

Additional information regarding attempted service, etc.:
Service on: PIPE HITTER FOUNDATION, INC.
9502 Hale Place Silver Spring, MD 20910

Served to: Sean Doe (Refused to provide last name), Authorized representative
(Male, White, 41-45, 181-200 lbs, Brown hair, Brown eyes, 5'7"-6'0")
6/17/2023 at 7:23 PM

Documents served: SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION, SCHEDULE A
DEFINITIONS, SCHEDULE B DEFINITIONS, PLAINTIFFS’ EMERGENCY MOTION, AND MEMORANDUM
IN SUPPORT, TO SHOW CAUSE WHY DEFENDANTS JOSHUA AND STEPHANIE MAST AND THEIR
THIRD-PARTY REPRESENTATIVES JONATHAN MAST AND THE PIPE HITTER FOUNDATION SHOULD
NOT BE HELD IN CONTEMPT FOR VIOLATING THE COURT’S PROTECTIVE ORDER, AND FOR
EXPEDITED DISCOVERY, EXHIBIT(S)
       Case 3:22-cv-00049-NKM-JCH Document 257-1 Filed 07/18/23 Page 3 of 40 Pageid#:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A

                                             DEFINITIONS

           For all Requests, the following definitions apply:

           1.     The definitions and instructions set forth in Federal Rule of Civil Procedure 34

 are incorporated herein by reference.

           2.     “You” and “Your” means the Pipe Hitter Foundation, Inc. (“Pipe Hitter

 Foundation”), Including Each Person acting or purporting to act on the Pipe Hitter Foundation’s

 behalf.

           3.     The term “all” shall mean all or any, and the term “any” means all or any.

           4.     The term “Communication” shall mean any disclosure, transmission, or exchange

 of information from one Person to another, including, without limitation, by personal meeting,

 telephone, facsimile, voicemail, electronic transmission, including email, and teleconference.

           5.     The term “Control” shall mean possession or custody, and includes control to the

 extent that You, Your attorneys, agents, or Representatives have a right to demand or compel

 production of the Document or Communication from a source with possession thereof.

           6.     The term “Document” shall be construed in its broadest sense in light of Federal

 Rule of Civil Procedure 34 and includes without limitation any written, printed, typed, recorded,

 electronic, or graphic matter of every type and description, however and by whoever prepared,

 produced, reproduced, disseminated, or made in any form, regardless of their origin or location,

 including, without limitation correspondence, email, memoranda, notes (including notes of any

 sort of conversations), diaries, statistics, letters, telegrams, speeches, drafts, electronic files,

 spreadsheets, databases, records, minutes, contracts, reports, studies, checks, statements, receipts,

 returns, summaries, pamphlets, periodicals, notices, messages (including instant messages),
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 instructions, work assignments, books, calendars, interoffice and intra-office communications

 (including, without limitation, email communications), agreements, leases, microfilm, circulars,

 notebooks, PowerPoint (or other like program) files and/or presentations, bulletins, printed

 matter, computer printouts, teletypes, facsimiles, drawings, sketches, worksheets of any of the

 foregoing, graphic or oral records or representations of any kind (including, without limitation,

 photographs, videotapes, motion pictures), and electronic, mechanical or electric recordings or

 representations of any kind (including, without limitation, tapes, cassettes and magnetic cards,

 disks and other recordings), and any other writings or sound recordings. The term “Document”

 includes each copy, version, or reproduction that is not identical to the original or any other

 produced copy whether different from the original by reason of any notation made on such

 copies or otherwise, and all associated metadata.

        8.      The term “Electronically Stored Information” or “ESI” refers to, without

 limitation, all electronic data (including reasonably accessible active, archival, or backup data,

 such as backup tapes, distributed data, electronic mail, forensic copies, metadata, and residual

 data) stored in any medium from which information can be reasonably obtained.

        9.      The term “each” shall mean all, each, and every.

        10.     The term “including” means “including but not limited to.”

        11.     The terms “Person” and “Entity” shall mean any natural Person or Persons and

 any other cognizable entity, including without limitation, corporations, proprietorships, joint

 ventures, partnerships, units, businesses, consortiums, clubs, associations, foundations,

 governmental agencies or instrumentalities, societies, orders, any other form of business

 organization or arrangement, or any other form of public, private or legal entity.
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        12.     The phrases “refer or relate to,” “referring or relating to,” “concern or

 concerning” and “comprise,” shall incorporate all information, Facts, and/or Documents that

 directly, indirectly, or in any other way support, negate, bear upon, touch upon, incorporate,

 affect, include, pertain to, and/or are otherwise connected with the subject matter about which a

 Request is being propounded. The phrases shall also mean containing, recording, discussing,

 mentioning, noting, summarizing, referring to, commenting upon, describing, digesting,

 reporting, listing, analyzing or studying the subject matter identified in a Request.

        13.     The term “Relevant Time Period” is from September 6, 2019 through the present.

        14.     The term “Representative” shall mean any agent, consultant, expert, attorney,

 contractor, or other Person engaged by the designated Person or Entity to perform some task or

 assignment for the Entity.

        15.     The singular form of any noun or pronoun includes the plural, and vice versa.

        17.     Terms in the present, imperfect, or past tenses each include the other tenses.

                                         INSTRUCTIONS

        1.      Unless otherwise specified, the time period covered by these Requests is the

 Relevant Time Period, or such other time period as the parties may later agree or the Court

 determines should apply.

        2.      In answering and responding to these Requests, You shall furnish information and

 Documents in Your possession, custody, or Control, Including information that is in the

 possession, custody, or Control of Your employees, agents, investigators, consultants,

 representatives, attorneys (subject to any otherwise applicable privileges), assignors, or any other

 person within Your Control.

        3.      Your obligation to supplement and/or amend Your Responses to each of these
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 Requests is continuing in character, requiring You to file supplemental responses should

 circumstances change, or should You acquire new or different information at any time during the

 pendency of the case.

        4.      All Documents that respond, in whole or in part, to any part or clause of any

 paragraph of these Requests shall be produced in their entirety, Including attachments, cover

 letters, memoranda, appendices, and enclosures. Documents that in their original condition were

 stapled, clipped, or otherwise fastened together shall be produced in such form so as to preserve

 their family relationship.

        5.      Each page of each Document shall bear a unique sequential number (i.e., a Bates

 number) that includes a symbol or abbreviation that identifies the producing party.

        6.      Any copies that differ in any way from the original (because, by way of example,

 handwritten or printed notations have been added) should be produced separately. All

 Documents that cannot be copied legibly shall be produced in original form.

        7.      In producing ESI or data in machine-readable form in response to any Request,

 provide such information or data in a form that is reasonably usable, Including at a minimum (i)

 Bates-numbered TIFF images of the ESI, (ii) searchable text of the ESI in a format compatible

 with industry-standard litigation-support applications, and (iii) a compatible load file. Produce

 Excel files, PowerPoint files, databases, and media files in their native forms. For all ESI

 produced, include for each item the metadata that can be reasonably extracted from the ESI.

 Hardcopy paper documents that can be copied legibly should be produced in an ESI format, by

 scanning the documents, and should include for each such document extracted/OCR text data

 files using a scanning setting of at least 300 DPI. Unitization for any Documents You produce

 shall be maintained as it was in the original document.
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          8.     For each Document, Including ESI, produced in response to these Requests,

 identify (i) the custodian of the Document, if collected from You, or (ii) the source of the

 Document, if obtained from a third party in the course of Your investigation, Including the name

 and address of the third party.

          9.     For any Document withheld under a claim of privilege, work product immunity,

 or some other privilege or immunity, provide a written statement or privilege log with sufficient

 detail to enable the claim of privilege or immunity to be adjudicated, Including:

    x     The privilege, work product, or other basis for withholding the Document;

    x     All persons making or receiving the Document;

    x     The steps taken to ensure the confidentiality of the Document, Including

    x     affirmation that no unauthorized persons have received the Document;

    x     The date of the Document; and

    x     The subject matter of the Document and the Request to which the Document is

          responsive.

    10.          The words “any,” “and,” and “or” shall be construed either disjunctively or

 conjunctively as necessary to bring within the scope of the discovery all responses which might

 otherwise be construed to be outside its scope. Each of the following words includes the meaning

 of every other word: “each,” “every,” “all,” and “any.”


                                    DOCUMENT REQUESTS

 REQUEST NO. 1

          All Documents and Communications between YOU and any member of the Mast family,

 including, but not limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and

 Stephanie Mast, referring or relating to fundraising for any Defendants in Doe v. Mast, et al,
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 3:22-cv-49-NKM-JCH (W.D. VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00

 (Circuit Court of Fluvanna County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit

 Court of Fluvanna County), or their families.

 REQUEST NO. 2

        All Documents and Communications between YOU and any news or media outlets,

 including, but not limited to One America News Network, referring or relating to the facts

 underlying Doe v. Mast, et al, 3:22-cv-49-NKM-JCH (W.D. VA), A.A. and F.A. v. J.M. and

 S.M., Case No. CL22000186-00 (Circuit Court of Fluvanna County), or In the Matter of Baby

 Lilly, Case No. 19CA12 (Circuit Court of Fluvanna County).

 REQUEST NO. 3

        All Documents and Communications between YOU and any member of the Mast family,

 including, but not limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and

 Stephanie Mast, or any news or media outlets, including, but not limited to One America News

 Network, referring or relating to efforts by Joshua and Stephanie Mast to adopt a child from

 Afghanistan.

 REQUEST NO. 4

        All Documents and Communications referring or relating to YOUR receipt of

 information and photographs identifying Baby Doe in whole or in part.

 REQUEST NO. 5

        All Documents and Communications regarding the story titled “PHF Story The Mast

 Family”, available at https://pipehitterfoundation.org/who-we-support/the-mast-family/.
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                                             SCHEDULE B

                                             DEFINITIONS

           For all Topics, the following definitions apply:

           1.     The definitions and instructions set forth in Federal Rule of Civil Procedure 34

 are incorporated herein by reference.

           2.     “You” and “Your” means the Pipe Hitter Foundation, Inc. (“Pipe Hitter

 Foundation”), Including Each Person acting or purporting to act on the Pipe Hitter Foundation’s

 behalf.

           3.     The term “all” shall mean all or any, and the term “any” means all or any.

           4.     The term “Communication” shall mean any disclosure, transmission, or exchange

 of information from one Person to another, including, without limitation, by personal meeting,

 telephone, facsimile, voicemail, electronic transmission, including email, and teleconference.

           5.     The term “Control” shall mean possession or custody, and includes control to the

 extent that You, Your attorneys, agents, or Representatives have a right to demand or compel

 production of the Document or Communication from a source with possession thereof.

           6.     The term “Document” shall be construed in its broadest sense in light of Federal

 Rule of Civil Procedure 34 and includes without limitation any written, printed, typed, recorded,

 electronic, or graphic matter of every type and description, however and by whoever prepared,

 produced, reproduced, disseminated, or made in any form, regardless of their origin or location,

 including, without limitation correspondence, email, memoranda, notes (including notes of any

 sort of conversations), diaries, statistics, letters, telegrams, speeches, drafts, electronic files,

 spreadsheets, databases, records, minutes, contracts, reports, studies, checks, statements, receipts,

 returns, summaries, pamphlets, periodicals, notices, messages (including instant messages),




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 instructions, work assignments, books, calendars, interoffice and intra-office communications

 (including, without limitation, email communications), agreements, leases, microfilm, circulars,

 notebooks, PowerPoint (or other like program) files and/or presentations, bulletins, printed

 matter, computer printouts, teletypes, facsimiles, drawings, sketches, worksheets of any of the

 foregoing, graphic or oral records or representations of any kind (including, without limitation,

 photographs, videotapes, motion pictures), and electronic, mechanical or electric recordings or

 representations of any kind (including, without limitation, tapes, cassettes and magnetic cards,

 disks and other recordings), and any other writings or sound recordings. The term “Document”

 includes each copy, version, or reproduction that is not identical to the original or any other

 produced copy whether different from the original by reason of any notation made on such

 copies or otherwise, and all associated metadata.

        8.      The term “Electronically Stored Information” or “ESI” refers to, without

 limitation, all electronic data (including reasonably accessible active, archival, or backup data,

 such as backup tapes, distributed data, electronic mail, forensic copies, metadata, and residual

 data) stored in any medium from which information can be reasonably obtained.

        9.      The term “each” shall mean all, each, and every.

        10.     The term “including” means “including but not limited to.”

        11.     The terms “Person” and “Entity” shall mean any natural Person or Persons and

 any other cognizable entity, including without limitation, corporations, proprietorships, joint

 ventures, partnerships, units, businesses, consortiums, clubs, associations, foundations,

 governmental agencies or instrumentalities, societies, orders, any other form of business

 organization or arrangement, or any other form of public, private or legal entity.




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         12.     The phrases “refer or relate to,” “referring or relating to,” “concern or

 concerning” and “comprise,” shall incorporate all information, Facts, and/or Documents that

 directly, indirectly, or in any other way support, negate, bear upon, touch upon, incorporate,

 affect, include, pertain to, and/or are otherwise connected with the subject matter about which a

 Request is being propounded. The phrases shall also mean containing, recording, discussing,

 mentioning, noting, summarizing, referring to, commenting upon, describing, digesting,

 reporting, listing, analyzing or studying the subject matter identified in a Request.

         13.     The term “Relevant Time Period” is from September 6, 2019 through the present.

         14.     The term “Representative” shall mean any agent, consultant, expert, attorney,

 contractor, or other Person engaged by the designated Person or Entity to perform some task or

 assignment for the Entity.

         15.     The singular form of any noun or pronoun includes the plural, and vice versa.

         17.     Terms in the present, imperfect, or past tenses each include the other tenses.

                                      DEPOSITION TOPICS

 TOPIC NO. 1

         Communications between YOU and any member of the Mast family, including, but not

 limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and Stephanie Mast, referring

 or relating to fundraising for any Defendants in Doe v. Mast, et al, 3:22-cv-49-NKM-JCH (W.D.

 VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00 (Circuit Court of Fluvanna

 County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit Court of Fluvanna County),

 or their families.




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 TOPIC NO. 2

            Communications between YOU and any news or media outlets, including, but not limited

 to One America News Network, referring or relating to the facts underlying Doe v. Mast, et al,

 3:22-cv-49-NKM-JCH (W.D. VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00

 (Circuit Court of Fluvanna County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit

 Court of Fluvanna County).

 TOPIC NO. 3

            Communications between YOU and any member of the Mast family, including, but not

 limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and Stephanie Mast, or any

 news or media outlets, including, but not limited to One America News Network, referring or

 relating to efforts by Joshua and Stephanie Mast to adopt a child from Afghanistan.

 TOPIC NO. 4

            Your fundraising efforts for any Defendants in Doe v. Mast, et al, 3:22-cv-49-NKM-JCH

 (W.D. VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00 (Circuit Court of

 Fluvanna County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit Court of Fluvanna

 County), or their families.

 TOPIC NO. 5

            YOUR drafting and publication of the story titled “PHF Story The Mast Family”,

 available at https://pipehitterfoundation.org/who-we-support/the-mast-family/, including, but not

 limited to the source of any photographs used or information identifying Baby Doe in whole or

 in part.




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 TOPIC NO. 6

 YOUR receipt of information and photographs identifying Baby Doe in whole or in part.

 TOPIC NO. 7

 Communications regarding the story titled “PHF Story The Mast Family”, available at

 https://pipehitterfoundation.org/who-we-support/the-mast-family/.




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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                        CHARLOTTESVILLE DIVISION

 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
 BABY DOE, A CITIZEN OF AFGHANISTAN :
 CURRENTLY RESIDING IN NORTH :
 CAROLINA, BY AND THROUGH NEXT : CIVIL ACTION NO. 3:22-CV-49
 FRIENDS, JOHN AND JANE DOE;AND JOHN :
 AND          JANE           DOE,          CITIZENS             OF :
 AFGHANISTAN AND LEGAL GUARDIANS :
 OF BABY DOE,                                                       :
                                                                    :
          Plaintiffs,                                               :
                                                                    :
 v.                                                                 :
                                                                    :
 JOSHUA MAST, STEPHANIE MAST, :
 RICHARD MAST, KIMBERLEY MOTLEY, :
 AND AHMAD OSMANI,                                                  :
                                                                    :
           Defendants,                                              :
                                                                    :
 and                                                                :
                                                                    :
 UNITED STATES SECRETARY OF STATE :
 ANTONY BLINKEN AND UNITED STATES :
 SECRETARY OF DEFENSE GENERAL                                       :
 LLOYD AUSTIN,                                                      :
                                                                    :
           Nominal Defendants.                                      :
                                                                    :
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


     PLAINTIFFS’ EMERGENCY MOTION, AND MEMORANDUM IN SUPPORT,
      TO SHOW CAUSE WHY DEFENDANTS JOSHUA AND STEPHANIE MAST
        AND THEIR THIRD-PARTY REPRESENTATIVES JONATHAN MAST
   AND THE PIPE HITTER FOUNDATION SHOULD NOT BE HELD IN CONTEMPT
             FOR VIOLATING THE COURT’S PROTECTIVE ORDER,
                     AND FOR EXPEDITED DISCOVERY




                                       1
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                                         INTRODUCTION

          On February 8, 2023, the Court heard argument on Plaintiffs’ Motion to Show Cause after

 Defendants Joshua and Stephanie Mast (the Masts) violated the Court’s September 13, 2022

 Protective Order by going on national television and disclosing Baby Doe’s identifying

 information. See ECF No. 158.1 Now, even while that motion remains pending, it appears they

 have done it again.

          In May 2023, the Pipe Hitter Foundation, a 501(c)(3) organization, soliciting financial

 support on behalf of the Masts, published Baby Doe’s image and personal information on its

 website and across social media to hundreds of thousands of followers. Several photos show Baby

 Doe’s face and feature Joshua and Stephanie Mast posing next to her. The Pipe Hitter Foundation

 is using those photos alongside a fundraising effort and publicity blitz to support the Masts in this

 case.2

          A few weeks later, Joshua Mast’s brother Jonathan Mast joined the effort. On June 6,

 2023, One America News Network (“OANN”) broadcast an interview with Jonathan. Like the

 Pipe Hitter Foundation’s website and posts, Jonathan’s interview included photographs and other

 identifying information related to Baby Doe. Leaving little doubt as to his mission with the OANN




          1
           The Protective Order, ECF No. 26, prohibits Defendants “from disclosing any
 information that directly or indirectly identifies Plaintiffs or their family members to any person[.]”
 Id. at 2. As relevant here, the Protective Order applies not only to Defendants, but also “their
 counsel and representatives.” Id. (emphasis added).
          2
         Screenshots of the offending website and social media posts are attached as Exhibit 1. In
 accordance with the Protective Order, Plaintiffs have redacted for public filing the images showing
 Baby Doe’s face as well as an image that appears to show an unidentified minor. At least one of
 these images is new to Plaintiffs, see Ex. 1 at 4-8, and does not appear to have been previously
 published to the public through any other format or forum.

                                                   2
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 interview, Jonathan closed by asking viewers to visit the Pipe Hitter Foundation’s website to make

 donations in support of Joshua and Stephanie Mast.

        The coordinated efforts of the Pipe Hitter Foundation and Jonathan Mast to publish

 photographs of Baby Doe on behalf of Joshua and Stephanie Mast violate the Protective Order.

 Those violations continue to increase the “substantial risk to the physical safety of Plaintiffs”—

 including Baby Doe—“and other innocent non-parties.” ECF No. 26 at 2. The continued

 dissemination of Baby Doe’s identifying information by the Masts doubles down on their disregard

 for the Court’s authority, and it merits a finding of contempt against Joshua and Stephanie Mast,

 as well as their representatives Jonathan Mast and the Pipe Hitter Foundation. Upon that finding,

 the Court should order the contemnors to:

                x      advise the Court and Plaintiffs within three days of all
                       persons, entities and organizations (whether media or
                       otherwise) to whom they directly or indirectly disclosed
                       Plaintiffs’ identities, including without limitation by sharing
                       photographs or video images of Baby Doe;

                x      confirm whether those persons, entities and organizations
                       have signed the nondisclosure agreements required by the
                       Court’s Protective Order;

                x      confirm that they have directed those persons, entities and
                       organizations that they may not directly or indirectly
                       disclose Plaintiffs’ identities to anyone else;

                x      remove the offending photographs from the Pipe Hitter
                       website and related social media accounts;

                x      pay a daily fine for every day in which they fail to provide a
                       full accounting of the above information; and

                x      pay Plaintiffs compensatory damages for the continued
                       dissemination of protected information as well as attorney’s
                       fees incurred in relation to this motion.

        In addition, the Court should ask Joshua and Stephanie Mast’s counsel whether they were

 aware: (1) that the Masts provided the violative identifying information to others for the purpose

                                                 3
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 of generating financial support and publicity; and (2) of Jonathan Mast’s OANN interview before

 it was aired.3

                                           BACKGROUND

 I.      The Court entered a Protective Order barring the disclosure of Plaintiffs’ identities
         due to a substantial risk of harm from such disclosure.

         This Court entered a Protective Order on September 13, 2022, that explicitly forbade

 “Defendants and their counsel and representatives . . . from disclosing any information that directly

 or indirectly identifies Plaintiffs or their family members to any person, including but not limited

 to the Plaintiffs’ names and the locations of their residences abroad and places of birth, unless that

 person first executes a non-disclosure agreement enforceable through the contempt sanction.” ECF

 No. 26 at 2. The Protective Order made clear that this language included “minor Plaintiff Baby

 Doe.” Id. at 3. The Court entered the Protective Order upon an explicit finding that “disclosure of

 Plaintiffs’ identities and identifying information would pose a substantial risk to the physical safety

 of Plaintiffs and other innocent non-parties[.]” Id. at 2.

 II.     Joshua and Stephanie Mast violated the Protective Order through the Pipe Hitter
         Foundation’s dissemination of Baby Doe’s image and information on its website and
         social media on their behalf.

         In May 2023, the Pipe Hitter Foundation published photos of Baby Doe on its website and

 social media channels in support of Joshua and Stephanie Mast.4 The Foundation’s main page



         3
          The Court also may consider referring the Masts to the United States Attorney’s Office
 for possible prosecution for criminal contempt in light of the Masts’ continued violations of the
 Protective Order and the resultant irreversible harm and present danger that Plaintiffs and their
 families now face.
         4
           According to its website, the Pipe Hitter Foundation “is committed to defending the rights
 and freedoms of our men and women in uniform,” including by “provid[ing] legal defense funds
 and associated expenses to uniform personnel who need it.” Pipe Hitter Foundation, Our Mission,
 https://pipehitterfoundation.org/our-mission (visited June 11, 2023). The Pipe Hitter Foundation
 was founded by Eddie Gallagher, his wife Andrea, and his brother Sean to “fight[] the injustices
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 prominently identifies “The Mast Family” among those “Who We Support” and displays a

 photograph of Baby Doe with Joshua Mast. See Ex. 1 at 1. Following the link beneath the image

 leads to a page titled “The Mast Family,” which displays the first photograph along with three

 additional photographs of Baby Doe—including one showing her sitting next to Stephanie Mast

 in August of 2021. Id. at 1-2. The “Mast Family” page parrots a one-sided and misleading account

 of the Masts’ quest “to create a path to safety and care available in the United States for the baby

 girl, code named ‘Starfish’” and makes defamatory statements regarding “the child’s Al Qaeda

 origins” and that Plaintiffs have “terrorist ties.” The page then declares that “[t]he Pipe Hitter

 Foundation is joining the Masts in their righteous fight” by “stepping up to support this brave

 Marine and his family.” To that end, readers are directed to a “Donate” link, which leads to a

 fundraising page titled “Help the Masts.” Id. at 3. The fundraising page shows the photo of Baby

 Doe with Stephanie Mast above a solicitation for donations from Eddie Gallagher, Director of

 Operations for the Pipe Hitter Foundation, which again states that the Pipe Hitter Foundation “is

 stepping up to support” the Masts. Id.

        The Pipe Hitter Foundation and its founders went further on social media. On May 11,

 2023, the Foundation posted a new photograph of Baby Doe—with her face “censored” by a digital

 “sticker” in the shape of a starfish, an apparent homage to Baby Doe’s supposed “code name”—

 to its Instagram account, @pipe_hitter_foundation (52.3k followers). Ex. 1 at 4. 5 The Foundation




 that were inflicted on them.” Id. at https://pipehitterfoundation.org/who-we-are. Eddie Gallagher
 is known, in part, for the circumstances of his career in the United States Navy. See Dave Phillips,
 et al., Trump’s Intervention in SEALs Case Tests Pentagon’s Tolerance, N.Y. Times, Nov. 30,
 2019, https://www.nytimes.com/2019/11/30/us/politics/trump-seals-eddie-gallagher.html.
        5
         In this photograph, Baby Doe is positioned atop exercise equipment in front of the flags
 of the United States, California, and the United States Marine Corps. See Ex. 1 at 4. From her
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 posted that same image as a “highlight” on its Instagram account with the text “Help the Mast

 Family!” and a “Read More and Donate” link that leads to the Pipe Hitter Foundation’s website.

 Ex. 1 at 5.6 The Pipe Hitter Foundation also posted the photo and caption on its Facebook account

 (10k followers), where it has been shared and re-posted 28 times by other users. Id. at 6. One of

 those users was Eddie Gallagher (94k followers), whose own re-post was itself re-posted another

 15 times. Id. at 7. That same day, founders Eddie and Andrea Gallagher posted that same photo—

 this time uncensored—to their personal Instagram accounts, @eddie_gallagher (216k followers)

 and @andrea_gallagher_ (16.4k followers). Id. at 8. Each of these posts was accompanied by

 captions similar to the “Mast Family” page and directions to the Pipe Hitter Foundation’s website

 with the request “please donate today!!” Id. at 4-7.

        In total, the Pipe Hitter Foundation and its founders, on behalf of Joshua and Stephanie

 Mast, published five photographs of Baby Doe, including three that show her face at various stages

 of her life, on their website and through social media accounts with nearly 400,000 followers.

        The foregoing reflects a widespread dissemination of information by a representative of

 Defendants Joshua and Stephanie Mast that could be used to readily identify Baby Doe, as well as

 John Doe and Jane Doe, her guardians and physical custodians until her abduction in September

 2021. Given the Masts’ earlier violation of the Protective Order and their ongoing risk of being

 held in contempt for that transgression, their current control over the child’s physical custody in




 apparent age in the photograph, and the flags behind her, it is clear this photograph was taken after
 she came to the United States and while she was in the physical custody of the Masts.
        6
           On Instagram, “highlights” are persistent posts that appear at the top of a user’s profile
 page. See Instagram, Introducing Stories Highlights and Stories Archive (Dec. 5, 2017),
 https://about.instagram.com/blog/announcements/introducing-stories-highlights-and-stories-
 archive (“Highlights stay on your profile until you remove them[.]”).

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 the United States, and their relationships with the Pipe Hitter Foundation and Jonathan Mast, it is

 reasonable to conclude that, either directly or indirectly, they are the source of the photographs

 and other information published by the Pipe Hitter Foundation.

 III.   Joshua and Stephanie Mast violated the Protective Order through Jonathan Mast’s
        dissemination of Baby Doe’s personal identifying information during a televised
        interview conducted on their behalf.

        In a situation nearly identical to the prior CBS interview given by Defendants Joshua and

 Stephanie Mast, Joshua’s brother Jonathan Mast gave an interview to OANN about this case,

 which was broadcast on June 6, 2022.7 OANN published four photographs of Baby Doe at various

 points in her life, both in Afghanistan and in the United States with the Masts. At least two of

 these photographs show Baby Doe’s face. During the interview, Jonathan Mast discussed Baby

 Doe’s personal medical history, including specific and identifying details such as the fractured

 skull and broken femur Baby Doe sustained during the September 2019 raid. Jonathan then called

 out the financial and media support the entire Mast family had been receiving from the Pipe Hitter

 Foundation. He directed viewers to visit the Pipe Hitter Foundation’s website to “find ways to

 donate and help” Joshua and Stephanie Mast “in their legal battle.” As with the Pipe Hitter

 Foundation’s publication of images and information about Baby Doe, Jonathan Mast almost

 certainly obtained the protected information he disseminated on OANN from Joshua and Stephanie




        7
           See One America News Network, Brother Of Marine Major Describes The Fight To
 Protect Afghan Girl Orphaned After Foreign Fighter Detonated Explosive Vest (June 6, 2023 4:46
 PM),       https://www.oann.com/video/oan-contribution/brother-of-marine-major-describes-the-
 fight-to-protect-afghan-girl-orphaned-after-foreign-fighter-detonated-explosive-vest.

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 Mast. Indeed, the interview culminated in a transparent effort to generate financial and public

 support for the defendants in this case.8

                                             ARGUMENT

 I.     The Court has the authority to hold parties, and those who aid and abet them, in
        contempt for violations of the Court’s orders.

        Courts are empowered to exercise their authority to hold those who violate their orders in

 civil contempt. Consumer Financial Protection Bureau v. Klopp, 957 F. 3d 454, 461 (4th Cir.

 2020) (citing Rainbow School, Inc. v. Rainbow Early Ed. Holding LLC, 887 F. 3d 610, 617 (4th

 Cir. 2018)). As previously discussed in Plaintiff’s Motion to Show Cause following Defendant

 Joshua and Stephanie Mast’s CBS interview (ECF No. 141), a party moving for civil contempt

 must establish four elements by clear and convincing evidence:

                (1) the existence of a valid decree of which the alleged contemnor
                had actual or constructive knowledge; (2) that the decree was in the
                movant’s favor; (3) that the alleged contemnor by its conduct
                violated the terms of the decree, and had knowledge (at least
                constructive knowledge) of such violations; and (4) that the movant
                suffered harm as a result.

 De Simone v. VSL Pharmaceuticals, Inc., 36 F.4th 518, 529 (4th Cir. 2022) (quoting Ashcraft v.

 Conoco, Inc., 218 F.3d 288, 301 (4th Cir. 2000) (cleaned up)). A finding of willfulness is not

 required to find a party in contempt of court. McComb v. Jacksonville Paper Co., 336 U.S. 187,

 191 (1949) (“[I]t matters not with what intent the defendant did the prohibited act.”). Indeed,

 “[o]nce the [movant] establishes that the [alleged contemnor] violated the [decree], the burden

 shifts to the [alleged contemnor] . . . to demonstrate that she made in good faith all reasonable

 efforts to comply with the [decree].” De Simone, 36 F.4th at 529 (quoting United States v. Ali, 874



        8
         Plaintiffs did not learn about the OANN interview or the actions of the Pipe Hitter
 Foundation until mid-last week.

                                                 8
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 F.3d 825, 831 (4th Cir. 2017) (cleaned up)). Civil contempt is appropriate “if we can point to an

 order of this Court which “set[s] forth in specific detail an unequivocal command” which a party

 has violated, In re General Motors Corp., 61 F.3d 256 (4th Cir. 1995), and “if there is no

 objectively reasonable basis for concluding that the [offender’s] conduct might be lawful.” De

 Simone, 36 F. 4th at 533 (quoting Taggart v. Lorenzen, 139 S. Ct. 1759, 1799 (2019)).

         When civil contempt is found, the appropriate remedy is within the court’s “broad

 discretion.” Id. at 535 (quoting In re Gen. Motors Corp., 61 F.3d 256, 259 (4th Cir. 1995)). The

 Court may employ sanctions in a civil contempt proceedings for two purposes: “[1] to coerce the

 defendant into compliance with the court’s order, and [2] to compensate the complainant for losses

 sustained.” De Simone, 36 F.4th at 536 (quoting United States v. United Mine Workers of Am., 330

 U.S. 258, 303-04 (1947)). Such powers are necessary, as “[t]o give the court the power to issue

 injunctive relief without the power to fine those individuals who disobey the court order is to give

 the court the power to grant a remedy without effective means to enforce it.” Rainbow School, 887

 F.3d at 620 (quoting Consolidation Coal Co. v. Local 1702, UMWA, 683 F.2d 827 (4th Cir. 1982)).

 “[W]hen a court imposes fines and punishments on a contemnor, it is not only vindicating its legal

 authority to enter the initial court order, but it also is seeking to give effect to the law’s purpose of

 modifying the contemnor’s behavior to conform to the terms required in the order.” Consumer

 Financial Protection Bureau v. Klopp, 957 F.3d 454, 466 (4th Cir. 2020) (citation omitted). That

 said, a compensatory sanction “may not exceed the actual loss to the complainant caused by the

 actions of respondent, lest the contempt fine become punitive in nature, which is not appropriate

 in a civil contempt proceeding.” In re General Motors Corp., 61 F.3d at 259 (citation omitted).

         Moreover, an award of attorney’s fees “because of the misconduct at issue” is considered

 compensatory. De Simone, 36 F.4th at 536 (citing Goodyear Tire & Rubber Co. v. Haeger, 137 S.



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 Ct. 1178, 1186 (2017)). The court may assess attorney’s fees regardless of whether the contemnor

 acted in “willful disobedience” of its orders. De Simone, 36 F.4th at 536 (“We’ve never required

 district courts to find a party’s willful disobedience before awarding attorneys’ fees. And we

 decline to impose that requirement here.”).

         The Court’s authority to impose sanctions for violation of its orders extends to nonparties

 who knowingly aid and abet a party in violating a court order. See, e.g., Tattoo Art, Inc. v. Tat

 Int’l, LLC, No. 2:10CV323, 2012 WL 3912572, at *3 (E.D. Va. Sept. 7, 2012) (recognizing that a

 federal district court’s “jurisdiction is properly extended when nonparties with actual notice of the

 court’s order actively aid and abet a party in violating that order”); JTH Tax, Inc. v. Lee, 540 F.

 Supp. 2d 642, 647-48 (E.D. Va. 2007) (finding non-party liable for violating injunction); see also

 17 Am. Jur. 2d. Contempt § 47 (“A nonparty, although not directly bound by a prior order of the

 court, may be held in civil contempt if the nonparty knowingly aids or abets a party in violating an

 order, such as relatives, governmental entities[, etc.]”).     To determine whether a nonparty

 possessed actual knowledge, the Court looks “to the facts surrounding the immediately involved

 violation[] [and] considers as well the history and context the litigation between the parties.”

 Williams v. Ests. LLC, No. 1:19-CV-1076, 2023 WL 2974078, at *5 (M.D.N.C. Apr. 17, 2023)

 (quoting Schwartz v. Rent-A-Wreck of Am., 261 F. Supp. 3d 607, 614 (D. Md. 2017)). When the

 moving party shows by clear and convincing evidence such notice, the Court analyzes the aider-

 and-abettor’s conduct under the same analysis described above. See id.

 II.    The Court should find Joshua and Stephanie Mast in contempt for their continued
        violations of the Protective Order.

        By and through their representatives—Jonathan Mast and the Pipe Hitter Foundation—

 Joshua and Stephanie Mast have once again violated this Court’s Protective Order. As was the

 case in Plaintiffs’ previous motion, ECF No. 141, the first two elements of the contempt analysis


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 are indisputable: (1) the Protective Order explicitly “prohibited” Defendants, their counsel and

 representatives “from disclosing any information that directly or indirectly identifies Plaintiffs or

 their family members to any person. . .” and (2) the Protective Order clearly was in Plaintiffs’

 favor. See ECF No. 26 at 2 (emphasis added).

        The third factor—that “the alleged contemnor by its conduct violated the terms of the

 decree”—is also clearly satisfied. De Simone, 36 F.4th at 529. Many of the same images that were

 shared with CBS also appear in the pieces published by the Pipe Hitter Foundation and during

 Jonathan Mast’s OANN interview. Beyond that, new identifying information for Baby Doe was

 revealed, including the date Baby Doe was taken into United States custody, the specific military

 unit which executed the raid, the name of the hospital in Afghanistan where she received care, and

 her alleged military “code name.” Not only have Joshua and Stephanie Mast apparently continued

 to share photographs and information that identify Baby Doe, they have increased the information

 available to the public by which Baby Doe could be identified.

        Much of this information was not contained in any previous reporting on this case and its

 underlying facts. Thus, these violations constitute new harm on top of the injury caused by Joshua

 and Stephanie Mast’s previous disseminations to the press of certain identifying photographs and

 information. The Masts may not shield themselves behind third-party benefactors or family

 members to get around the Protective Order. All factors are met and Joshua and Stephanie Mast

 should be held in contempt.

 III.   The Court should find the Pipe Hitter Foundation and Jonathan Mast in contempt as
        representatives who aided and abetted Joshua and Stephanie Mast’s violations of the
        Protective Order.

        Both the Pipe Hitter Foundation and Jonathan Mast acted on behalf of Joshua and

 Stephanie Mast to generate publicity and financial support for their defense in this case. As

 representatives of the Masts, they were subject to the Protective Order on its own terms. See ECF
                                                  11
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 No. 26 at 2 (imposing disclosure prohibition on “[t]he Defendants and their counsel and

 representatives”) (emphasis added).

        Importantly, both the Pipe Hitter Foundation and Jonathan Mast raised the ongoing

 litigation as their motivation for disseminating the images and information about Baby Doe. The

 Pipe Hitter Foundation declared it had “joined” Joshua and Stephanie Mast in their quest to get

 “word out to the media” and solicited donations to “help pay for their $100,000 in legal bills.”

 Jonathan Mast similarly pushed their story to the press in his OANN interview, which directed

 viewers back to the Pipe Hitter Foundation media and fundraising campaign. Given the Pipe Hitter

 Foundation and Jonathan Mast’s admissions that their conduct is on behalf of Joshua and Stephanie

 Mast and rooted in the Does’ lawsuits against the Masts, it strains credulity to believe that the Pipe

 Hitter Foundation and Jonathan Mast were unaware of the Protective Order that precluded the

 dissemination of personal information and photographs identifying Baby Doe.

        Additional context around the June 6, 2023 OANN interview provides further support that

 the Pipe Hitter Foundation and Jonathan Mast were aware of the Protective Order. The public

 record shows that representatives of the Pipe Hitter Foundation regularly appear on OANN.9 It

 thus stands to reason that the Foundation helped to arrange for Jonathan’s interview—something

 backed up by the interviewer’s unprompted invocation of the Pipe Hitter Foundation during that




        9
          Founders of the Pipe Hitter Foundation have given interviews on OANN on at least three
 prior occasions this year, including on March 30, April 12, and May 24, 2023. See
 https://www.oann.com/video/oan-contribution/retired-navy-seal-eddie-gallagher-backs-
 targetedanti-vax-marine/ (support for military personnel who refused COVID-19 vaccine);
 https://www.oann.com/video/oan-contribution/eddie-gallagher-touts-ben-darbys-release-at-fla-
 event/ (support for police officer convicted of murder); and https://www.oann.com/video/tipping-
 point-video/wrongful-murder-conviction-overturned-for-former-alabama-cop/ (same).

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 interview.10 Jonathan Mast’s interview appeared to have been positioned specifically to generate

 donations to his brother and sister-in-law, through the Pipe Hitter Foundation, in direct relation to

 this litigation. What’s more, during the OANN interview, Jonathan made clear that the Pipe Hitter

 Foundation coordinated with the Mast family “to offer support, both financially and getting the

 word out to the media and things of that nature—to kinda help tell my family’s side of the story

 … They have been just a tremendous help to us.”11 These comments reflect that neither the

 Foundation or Jonathan Mast were acting independently from Joshua and Stephanie Mast, and,

 indeed, Jonathan was speaking for and acting on behalf of his family. Why might Jonathan and

 the Foundation spearhead such a campaign? It is likely because they understood that Joshua and

 Stephanie Mast could not risk being directly involved given the Protective Order and the pending

 show-cause motion that followed their last round of publicity.

        Whether as direct representatives covered by the Protective Order or as aiders-and-abettors

 with knowledge of the Order, the Pipe Hitter Foundation and Jonathan Mast should be found in

 contempt for the same reasons given for the Masts above. See supra Part II.

 IV.    The Court should allow expedited and targeted discovery regarding the Masts’
        violation of the Protective Order.

        If nothing else, these circumstances warrant expedited, targeted discovery and an

 evidentiary hearing before the Court to draw out the details for how these non-parties obtained the

 photographs of and personal information regarding Baby Doe and took it upon themselves to

 disseminate them in support of Joshua and Stephanie Mast. Plaintiffs will serve copies of this



        10
            See OANN Interview at 2:52 (Interviewer: “Jonathan, retired Navy SEAL Chief Eddie
 Gallagher and his Pipe Hitter Foundation has also stepped up to help your brother and your family.
 Just sort of talk about what that support from the Pipe Hitter Foundation has meant.”).
        11
             OANN Interview at 3:06.

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 motion on the Pipe Hitter Foundation and Jonathan Mast, with subpoenas for documents and

 testimony. The Court should allow Plaintiffs to serve expedited requests for production on Joshua

 and Stephanie Mast with targeted depositions related to the circumstances of these violations

 following the production of documents.12

 V.     The Court should impose sanctions for continued violations of the Protective Order.

        Plaintiffs continue to be harmed by the improper publicity thrust upon Baby Doe’s identity.

 The Court should not countenance the seemingly blasé attitude Defendants and their

 representatives have over the safety concerns of John, Jane, and Baby Doe. Defendants plastered

 Baby Doe’s face with other identifying information across the internet; it would be impossible to

 scrub that media from the digital world. Each time they violate the Protective Order, Joshua and

 Stephanie Mast create a new opportunity for the Taliban in Afghanistan, or anyone else, to identify

 the Doe family and their relatives in Afghanistan. That is exactly the risk that the Protective Order

 was meant to avoid.

        Joshua Mast, Stephanie Mast, the Pipe Hitter Foundation and Jonathan Mast should be held

 in contempt for their violation of the Protective Order. This Court should order them to:

                x       advise the Court and Plaintiffs within three days of all
                        persons, entities and organizations (whether media or
                        otherwise) to whom they directly or indirectly disclosed
                        Plaintiffs’ identities, including without limitation by sharing
                        photographs or video images of Baby Doe;




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           Under the current case schedule, discovery closes July 3, 2023. See ECF No. 148. Due
 to the recalcitrance of the Masts in providing discovery responses, see, e.g., Plaintiffs’ Motion to
 Compel Production of Documents by Joshua and Stephanie Mast, ECF No. 230, Plaintiffs have
 not been in a position to schedule depositions of the defendants. The parties recently filed a Joint
 Motion to Modify the Second Amended Pretrial Order. See ECF No. 220. That motion is pending.

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                 x      confirm whether those persons, entities and organizations
                        have signed the nondisclosure agreements required by the
                        Court’s Protective Order;

                 x      confirm that they have directed those persons, entities and
                        organizations that they may not directly or indirectly
                        disclose Plaintiffs’ identities to anyone else;

                 x      remove the offending photographs from the Pipe Hitter
                        website and related social media accounts;

                 x      pay a daily fine for every day in which they fail to provide a
                        full accounting of the above information; and

                 x      pay Plaintiffs compensatory damages for the continued
                        dissemination of protected information as well as attorney’s
                        fees incurred in relation to this motion.

        In addition, the Court also should ask Joshua and Stephanie Mast’s counsel whether they

 were aware: (1) that the Masts provided the violative identifying information to others for the

 purpose of generating financial support and publicity; and (2) of Jonathan Mast’s OANN interview

 before it was aired.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request the Court find Joshua Mast,

 Stephanie Mast, the Pipe Hitter Foundation and Jonathan Mast in contempt for their violation of

 the Protective Order and provide the relief requested above. Given the ongoing harm from the

 public posting of Baby Doe’s image and personal information, Plaintiffs also ask the Court to

 address this matter in an expedited manner.


 June 14, 2023                         Respectfully submitted,

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                                       Kevin S. Elliker (VSB No. 87498)
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of June 2023, I filed the foregoing with the Court’s

 electronic case-filing system, thereby serving all counsel of record in this case, and that I caused

 service on the following parties via personal service and certified mail:


                The Pipe Hitter Foundation
                c/o The Arland Affiliation
                Registered Agent
                72 Sara Circle
                Santa Rosa Beach, FL 32459

                Jonathan Mast
                359 Valley Drive
                Rustburg, VA 24588




                                By:    /s/ Maya Eckstein
                                       Maya M. Eckstein (VSB No. 41413)




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                               EXHIBIT1
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         Screenshots from Pipe Hitter Foundation Website (visited June 11, 2023)
                 (Redactions applied by Plaintiffs pursuant to ECF No. 26)

                                   Main Landing Page:




                                “The Mast Family” Page:




                                           1
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                             “The Mast Family” Page:




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     Screenshots from Pipe Hitter Foundation Donation Website (visited June 11, 2023)
                   (Redactions applied by Plaintiffs pursuant to ECF No. 26)




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      May 11, 2023 Instagram Post by @pipe_hitter_foundation (visited June 12, 2023)
                  (Redactions applied by Plaintiffs pursuant to ECF No. 26)




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   May 11, 2023 Instagram “Highlight” by @pipe_hitter_foundation (visited June 13, 2023)
                   (Redactions applied by Plaintiffs pursuant to ECF No. 26)




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       May 11, 2023 Facebook Post by Pipe Hitter Foundation (visited June 12, 2023)
                  (Redactions applied by Plaintiffs pursuant to ECF No. 26)




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          May 11, 2023 Facebook Post by Eddie Gallagher (visited June 12, 2023)
                 (Redactions applied by Plaintiffs pursuant to ECF No. 26)




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May 11, 2023 Instagram Post by @andrea_gallagher_ and @eddie_gallagher (visited June 12, 2023)
                     (Redaction applied by Plaintiffs pursuant to ECF No. 26)




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